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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER REQUESTING REPORT ON
                                                                         10   This Order Relates To:                  )   SETTLEMENT DISCUSSIONS
                               For the Northern District of California
United States District Court




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                                                                         11                                           )
                                                                              ALL INDIRECT PURCHASER ACTIONS          )
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                                                                         18        The Court hereby ORDERS the Special Master to prepare a report
                                                                         19   and any recommendations necessary regarding the progress of
                                                                         20   settlement discussions in the Indirect Purchaser Plaintiffs'
                                                                         21   action.   The Special Master shall file the report at his
                                                                         22   convenience.
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                                                                         24        IT IS SO ORDERED.
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                                                                         26        Dated: November 17, 2014
                                                                         27                                        UNITED STATES DISTRICT JUDGE

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